2/29/2020            Case 1:20-cv-00298-LY-DH
                                        Roger StoneDocument       93-1
                                                   Video Deposition        Filed 02/16/21
                                                                    in Corsi/Klayman             Page 1 of 3
                                                                                     Defamation Suits




                      Exhibit -- 1
  Roger Stone Video Deposition in Corsi/Klayman
  Defamation Suits
  EMBEDDED AND LINKED BELOW




  (Ft. Lauderdale, Florida February 18, 2020). Last week on
  February 12-13, 2020, Roger Stone, who was indicted and
  then convicted on 7 counts of perjury, witness tampering and
  obstruction of justice, was deposed by Larry Klayman, a co-
  plaintiff with Dr. Jerome Corsi, in defamation lawsuits which
  Klayman as Corsi's legal counsel had filed alleging malicious
  slander and other harmful tortious acts.

  The complaints in these lawsuits, which can be found at
  www.larryklayman.com and which lawsuits are listed below,
  allege that Stone sought with actual malice to defame both
  Corsi and his legal counsel Larry Klayman because at the
  time he feared wrongly that Corsi would testify adversely
  against him in the criminal prosecution which later resulted in
  his conviction on 7 separate counts. Stone was indicted by
  Special Counsel Robert Mueller, but Corsi was not. Stone is
  currently scheduled to be sentenced on February 20, 2020, and the 7-9 years imprisonment which the prosecutors originally
  requested has raised great controversy in recent days.

  Also a defendant in one of the lawsuits is Newsmax, its founder and CEO Christopher Ruddy, and Newsmax talk show host,
  John Cardillo — two of Stone's friends -- who are alleged to have collaborated with Stone in defaming Corsi and succumbing
  to Stone's alleged tortious interference to have Klayman no longer appear on Newsmax television or through its blog
  "Klayman's Court."

  The videos of the Stone deposition paint a very different picture of Stone than is being portrayed by some in the so-called
  conservative media, particularly by two of his other friends at Fox News, most notably Tucker Carlson and Sean Hannity, who
  have been running interference for him in recent days, claiming falsely and without any factual bases that he was wrongly
  indicted and convicted. The President of the United States, Donald Trump, has also weighed in urging that his former political
  adviser get a new trial and/ or that Stone be sentenced to a shorter prison term, while also holding out the possibility of a
  presidential pardon.

  The cases against Stone, filed by Corsi and Klayman, seek large damages for his defamatory and other tortious acts (and for
  which discovery was consolidated), include:

  (1) Klayman v. Stone et al, CACE-19-011394 (Broward County)

  (2) Klayman v. Stone et al, CACE-19-002672 (Broward County)

  (3) Corsi v. Stone et al, 50-2019-CA-013711-XXXX-MB (Palm Beach County)

  (4) Klayman v. Santilli et al, 50-2019-CA-015104-XXXX-MB (Palm Beach County)


list4.freedomwatchusa.org/view_email.php?id=4320                                                                                   1/3
2/29/2020            Case 1:20-cv-00298-LY-DH
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  (5) Corsi v. Stone, 1:19-cv-324 (D.D.C) (District of Columbia)

  (6) Corsi v. Caputo et al, 1:19-cv-1573 (D.D.C) (District of Columbia)

  Klayman wrote in his last week's column in www.worldnetdaily.com that Stone was not wrongly convicted and indeed did not
  present even one witness in his defense at his criminal trial last November. Klayman monitored and thus sat in on the trial for
  his client Corsi, who had been subpoenaed by both sides to testify, but never did.

  Stone was thus convicted through his own words in emails, texts and other communications. Klayman's column strongly
  refutes the contrived and false narrative that Stone is a victim, which spin Stone most likely orchestrated, particularly with
  Tucker Carlson, who he admitted at deposition is his very good friend. Klayman believes that Carlson has been serving as a
  surrogate for Stone, helping him to repeatedly violate a gag order by the Honorable Amy Berman Jackson, who was the
  federal judge presiding over his criminal prosecution. Klayman and Corsi also believe that Carlson and his publication The
  Daily Caller participated in defaming Corsi, as discussed at the deposition.

  The video deposition of Stone and Klayman's column are embedded and linked below.




  Click to Watch Video




  See also: The truth about the Roger Stone prosecution - Larry Klayman



  See Larry’s New Podcast: ‘Larry Klayman 4 Everyone’

  Hosts Judah Friedman and Larry Klayman explore current political issues, as well as Klayman's
  breadth of legal work, and how the two parallel each other in today's divided political spectrum.

list4.freedomwatchusa.org/view_email.php?id=4320                                                                                    2/3
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